   DEPARTMENT OF CORRECTIONS                                                                                         WISCONSIN
   Department of Adult Institutions                                                                            Administrative Code
   DOC-410 (Rev. 04/18)                                                                                          Chapter DOC 310


                                                  ICE RECEIPT
                                      COMPLAINT NUMBER WCI-2023-10358
                                         * * * ICRS CONFIDENTIAL * * *

        To: BURKES, KEVIN L. - #275991
            UNIT: _S-_H -- _H04-_L
            WAUPUN CORRECTIONAL INSTITUTION
            PO Box 351
            WAUPUN, WI 53963-0351



        Complaint Information:
           Date Complaint Acknowledged:     07/14/2023
           Date Complaint Received:         07/12/2023
           Subject of Complaint:        4 - Medical

           Brief Summary:               complains not receiving eye doctor appointment

            This is to acknowledge the complaint you filed which was received on the date indicated. Depending on
            the nature of the complaint, you may or may not be interviewed by the ICE. A recommendation on the
            complaint will be made and submitted to the appropriate reviewing authority within 30 days of
            acknowledgement. A decision will be made by the appropriate reviewing authority within 15 days following
            receipt of the recommendation unless extended for cause.
                 Please write to the ICE if this issue is resolved before you receive an answer.




Print Date: July 14, 2023                                    Page 1 of 1                        Institution Complaint Examiner's Office
                                                      ** ICRS CONFIDENTIAL **
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   DEPARTMENT OF CORRECTIONS                                                                                        WISCONSIN
   Department of Adult Institutions                                                                           Administrative Code
   DOC-401 (Rev. 04/18)                                                                                         Chapter DOC 310

                                                   ICE REPORT
                                      COMPLAINT NUMBER WCI-2023-10358
                                         * * * ICRS CONFIDENTIAL * * *

       To: BURKES, KEVIN L. - #275991
           UNIT: _S-_E -- _E27-_U
           WAUPUN CORRECTIONAL INSTITUTION
           PO Box 351
           WAUPUN, WI 53963-0351




       Complaint Information:
          Date Complaint Acknowledged: 07/14/2023                                         Inmate Contacted? No

          Date Complaint Received:        07/12/2023
          Subject of Complaint:          4 - Medical

          Person(s) Contacted:           AHSM Haseleu

          Document(s) Relied Upon:       DOC 310

          Brief Summary:                 complains not receiving eye doctor appointment

          Summary of Facts:              BK Inmate Burkes complains regarding not being seen by eye doctor for pain
                                         in his eyes.

                                         AHSM Haseleu was contacted and responded that HSU has had problems
                                         when they have tried to get optical in to see patients. AHSM Haseleu states
                                         that BHS is exploring alternatives to get providers to see patients. AHSM
                                         Haseleu does state that Inmate Burkes is an active referral to he will be
                                         scheduled when providers come in.

                                         Recommendation is to affirm that Inmate Burkes has not been seen by Optical
                                         provider. Through the ICRS process, the matter will also be reviewed by the
                                         Health Services Nursing Coordinator. AHSM will be copied. Inmate Burkes is
                                         on referral list for when provider is found.

          ICE Recommendation:            Affirmed

          Recommendation Date:           08/18/2023




                                         B. Kolb - Institution Complaint Examiner




Print Date: September 06, 2023                                Page 1 of 1                      Institution Complaint Examiner's Office
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   DEPARTMENT OF CORRECTIONS                                                                                        WISCONSIN
   Department of Adult Institutions                                                                           Administrative Code
   DOC-403 (Rev. 04/18)                                                                                        Chapter DOC 310

                                      REVIEWING AUTHORITY'S DECISION
                                      COMPLAINT NUMBER WCI-2023-10358
                                         * * * ICRS CONFIDENTIAL * * *

       To: BURKES, KEVIN L. - #275991
           UNIT: _S-_E -- _E27-_U
           WAUPUN CORRECTIONAL INSTITUTION
           PO Box 351
           WAUPUN, WI 53963-0351




       Complaint Information:
          Date Complaint Acknowledged: 07/14/2023
          Date Complaint Received:         07/12/2023
          Subject of Complaint:            4 - Medical
          Brief Summary:                   complains not receiving eye doctor appointment
          ICE's Recommendation:            Affirmed
          Reviewer's Decision:             Affirmed

          Reason(s) for Decision:          BHS is following up to get optical appointments completed. The patient is
                                           encouraged to contact HSU as needed for further health concerns.
          Decision Date:                   08/31/2023




                                          R. Weinman - Reviewing Authority
          CC:
                 Distributed via email
                     Haseleu, A
                     Hepp, R
                     Sukowaty, L

          A complainant dissatisfied with a decision may, within 14 days after the date of the decision, appeal that
          decision by filing a written request for review with the Corrections Complaint Examiner on form DOC-405
          (DOC 310.12, Wis. Adm. Code).




Print Date: September 06, 2023                                  Page 1 of 1                                        Reviewer's Office
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                                                                                                    GENERAL REPORT
                                                                                                      WCI-2023-10358
                                                State of Wisconsin
                                                  Department of Corrections
                               GENERAL REPORT ON INMATE COMPLAINT

        Complaint Information:
           Date Complaint Acknowledged:        July 14, 2023
              Date Complaint Received:         July 12, 2023
              Subject of Complaint:         4 - Medical

              Brief Summary:                complains not receiving eye doctor appointment

        ICE Recommendation Information:        (Signed on 8/18/23 1:31:08PM):
              Person(s) Contacted:          AHSM Haseleu
              Document(s) Relied Upon:      DOC 310
              ICE's Summary of Facts:       BK Inmate Burkes complains regarding not being seen by eye doctor for
                                            pain in his eyes.

                                            AHSM Haseleu was contacted and responded that HSU has had problems
                                            when they have tried to get optical in to see patients. AHSM Haseleu states
                                            that BHS is exploring alternatives to get providers to see patients. AHSM
                                            Haseleu does state that Inmate Burkes is an active referral to he will be
                                            scheduled when providers come in.

                                            Recommendation is to affirm that Inmate Burkes has not been seen by
                                            Optical provider. Through the ICRS process, the matter will also be reviewed
                                            by the Health Services Nursing Coordinator. AHSM will be copied. Inmate
                                            Burkes is on referral list for when provider is found.

              ICE's Recommendation:         Affirmed
              ICE's Recommendation Date: August 18, 2023

        RA's Decision Information:      (Signed on 8/31/23 4:29:34PM):
              RA's Reason:                  BHS is following up to get optical appointments completed. The patient is
                                            encouraged to contact HSU as needed for further health concerns.

              RA's Decision:                Affirmed
              RA's Decision Date:           August 31, 2023




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                                                                                                                                              State of Wisconsin
                                                                                                                                               Department of Corrections

                                                                                                                                        DISTRIBUTION ITEMS
                                                                                                                                for COMPLAINT NUMBER WCI-2023-10358
                                                                                 Item                           Create Date            Created By          Sent To            Inmate ID          Print Date             Printed By
                                                                          ICE Receipt                    07/14/2023 7:31:44AM   Brian Kolb                WCI                   275991    07/14/2023 1:45:50PM   Brian Kolb
                                                                          ICE Report                     08/31/2023 4:29:33PM   Robert Weinman            WCI                   275991    09/06/2023 8:34:51AM   Tonia Moon
                                                                          RA Report                      08/31/2023 4:29:33PM   Robert Weinman            WCI                   275991    09/06/2023 8:34:51AM   Tonia Moon




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